   Case: 1:20-cv-00023-SNLJ Doc. #: 6 Filed: 02/04/20 Page: 1 of 2 PageID #: 171
77512


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

 BARBARA KELLUM,                              )
 CHRISTOPHER BRADLEY,                         )
 I.B. (a minor) by and through her Legal      )
     Guardian Cynthia Simpson,                )
 J.B. (a minor) by and through her            )
     mother and Next Friend Tianna            )
     Wedderburn, and                          )
 S.B. (a minor) by and through her            )
     mother and Next Friend Brittney          )      Case No. 1:20-CV-00023
     Britt,                                   )
 as Beneficiaries of Decedent Michael         )
     Byrd,                                    )
                                              )
               Plaintiffs,                    )      CONSENT TO REMOVAL
 vs.                                          )
                                              )
 NATIONWIDE INSURANCE                         )
   COMPANY OF AMERICA, and                    )
 GILSTER-MARY LEE                             )
   CORPORATION GROUP HEALTH                   )
   BENEFIT PLAN                               )
                                              )
               Defendants.                    )
                                              )


         DEFENDANT NATIONWIDE INSURANCE COMPANY OF AMERICA’S
                         CONSENT TO REMOVAL


        COMES NOW Defendant Nationwide Insurance Company of America, by and through

undersigned counsel, a n d pursuant to 28 U.S.C. §1446(b) hereby provides notice to this Court that

this Defendant consents to the removal of this action, the removal being initiated by Defendant

Gilster-Mary Lee Corporation Group Health Benefit Plan.




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                                                     LAW OFFICE OF MICHAEL P.
                                                     MCDONALD, JR.


                                                     _____________________________________
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                                                     Attorneys for Defendant Nationwide
                                                     Insurance Company of America

                                        Certificate of Service

The undersigned certifies that a copy of the foregoing was served on February 4th, 2020 via the
Court’s CM/ECF system to all counsel of record in this action, and also via regular U.S. mail, postage
prepaid, to:
Barbara Kellum
1825 Evondale St.
Cape Girardeau, MO 63701

Christopher Bradley
127-03 Jamaica Ave. Apt. 2H
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J.B. (a minor),
c/o Tianna Wedderburn
1560 Canary Island Dr.
Weston, FL 33327

S.B. (a minor)
c/o Brittney Britt
409 Prospect
Lancaster, PA 17603

I.B. (a minor)
c/o Cynthia Simpson
213 Orange Avenue
Irvington, NJ 07111

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